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Check one.
C] Presumption of Undue Hardship

No Prespmption of Undue Hardship
See Debtor's Statement in Support of Reaffirmation, Part It
below, to determine which bax to check

 

 

 

United States Bankruptcy Court
Western District of Kentucky

Jimmy Darrell Walker, Jr.
Inre Amanda Diane Walker CasoNo, —‘(19-10420-jal

Debtor - Chapter 7

REAFVIRMATION DOCUMENTS

Nene of Creditor: First and Farmers National Bank, Inc.
[1 Check this box if Creditor is a Credit Union

PART I. REATFIRMATION AGREEMENT

Reaffirming a debt is a serious financial decision. Before entering into this Reaffirmation Agreement, yon must
review the important disclosures, instructions, and definitions found in Part V of this form.

A. Brief description of the original agreement being reaffirmed: Real Estate Mortgage on house and lot at 139
, South High Street, Burkesville, KY 42717

For example, auto loan

r

B. AMOUNT REAFFIRMED: $ 22,274.85
The Amount Reaffirmed is the entire amount that you are agreeing to pay. This may include unpaid principal,
interest, and fees and costs (if any) arising on or before , Which is the date of the Disclosure Statement
portion of this form (Part V).

See the definition of "Amount Reaffirmed" in Part V, Section C below.

C. The ANNUAL PERCENTAGE RATE applicable to the Amount Reaffirmed is _ 6.126 %.
See definition of “Annual Percentage Rate" in Part V, Section C below.
This is a (check one) Fixed rate (J Vatiable rate

If the loan has a variable rate, the future interest rate may increase or decrease from the Annual Percentage Rate disclosed
here.

D. Reaffirmation Agresment Repayment Terms (check and complete one):

(Vi $_260.71_ sper month for_120 months starting on 0240/2018 _,

(7 Describe repayment terms, inoluding whether future payment amount(s) may be different from the Initial

payment amount,
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£, Describe the collateral, if any, securing the debt:

Description House & Lot at 139 South High St, Burkesvilie, KY
Current Market Value $ 37,000.00

F, Did the debt that is being reaffirming arise from the purchase of the collateral described above?

(1 Yes, What was the purchase price for the collateral? $
No, What was the amount of the original loan? $ 24,878.00

G. Specify the changes made by this Reaffirmation Agreement to the most recent credit terms on the reaffirmed debt
and any related agreement:

Terms as of the Torts After

Date of Bankruptcy Reaffirmation
Balance due (including
jees and costs) 3 22,274.85 $ 22,274.85
Annual Percentage Rate 5.125 % $125 %
Monthly Payment $ 280,71 $ ‘260,74

H. 1) Check this box if the creditor is agreeing to provide you with additional future credit in connection with
this Reaffirmation Agreement, Desoribe the credit limit, the Annual Percentage Rate that applies to
future credit and any other terms on future purchases and advances using such credit:

 

PART IL DEBTOR'S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT

A. Were you represented by an attorney during the course of negotiating this agreement?

Check one. uf ves LJ No

B, Is the creditor a credit union?

Check one. [J Yes = [YJ No

C. Tf your answer to EITHER question A. or B. above is "No" complete 1. and 2, below.

1. Your present monthly income and expenses are:

‘a. Monthly income from all sources after payroll deductions

(take-home pay plus any other Income) $ {2 0 no,
b. Monthly expenses (including all reaffirmed debts except this one) $ } S DO-7\

¢, Amoont available to pay this reaffirmed debt (subtract b, from a.) $ wy ‘1A

d, Amount of monthly payment required for this reaffirmed debt $ Wo vd \

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Uf the monthly payment on this reaffirmed debt (line d) Is greater than the amount you have available to pay this ~ oe
reafirined debt (line c.}, you must check the box at the top of page one that says “Presumption of Undue Hardship."
Otherwise, you must check the box at the top of page one that says “No Presumption of Undue Hardship."

2. You believe this reaffirmation agreement will not impose an undue hardship on you or on your dependents
because:

Check one of the two statements below, if applicable:

K You can afford to make the payments on the reaffirmed debt bacause your monthly income is greater than

your monthly expenses even after you include in your expenses the monthly payments on all debts you are ;
reaffirming, including this one.

CJ] You can afford to make the payments on the reaffirmed debt even though your monthly income is less than
your monthly expenses after you include in your expenses the monthly payments on all debts you are
reaffirming, including this one, because:

 

Use an additional page if needed for full explanation.

D. If your answers to BOTH questions A. and B, above were "Yes," check the following statement, if applicable:

C1) You belleve this Reaffirmation Agreement |s in your financial interest and you can afford to make the
payments on the reaffirmed debt.

Also, check the box at the top of page one that says “No Presumption of Undue Hardship."

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Page-4:

Part Ii, CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES
] horeby certify that:

(1) T agree to reaffirm the debt described above,

(2) Before signing this Reaffirmation Agreement, ] read the terms disclosed in this Reaffirmation Agreoment
(Part I) and the Disclosure Statement, Instructions and Definitions included in Part V below;

(3} The Debtor’s Statement in Support of Reaffirmation Agreement (Part I above) is true and complete;
(4) I am entering into this agreement voluntarily and am fully informed of my rights and responsibilities; and

(5) I have received a copy of this completed and signed Reaffirmation Doouments form.
OA pees is a joint Reaffirmation Agreement, bothwebtors must sign.);
Date Db~ti~ Tt Signature \
my ell Walker, Jr, :

Date Db ~AS ~VoG, situ LV UA Lec. Qiathe

Amanda Diane Walker
Joint Debtor, if any

 

Reaffirmation Agreement Terms Accepted by Creditor:
Creditor First and Farmers National Bank, Inc. P.O, Box 337, Burkesville, KY 42717

Print Name A
Larry Walker nt 4 -20-/ ?
Signature Date a

Print Name of Representative

PART IV. CERTIFICATION BY DEBTOR'S ATTORNEY GF ANY)
To be filed only if the attorney represented the debtor during the course of’ negotiating this agreement.

Thereby certify that; (1) this agreement represents a fully informed and voluntary agreement by the debtor; (2) this
agreement does not impose an undue hardship on the debtor or any dependent of the debtor; and (3) [have fully advised
the debtor of the legal effect and consequences of this agreement and any default under this agreement.

L] A presumption of undue hardship has been established with respect to this agreement, In my opinion, however, the
debtor is able to make the required payment.

Check box, if the presumption of undue hardship box is checked on page I and the sughor is nota Credit Union.
Dato . el 4cl4 Signature of Debtor's Attorney “a

=

=
Print Name of Debtor's Attorney John donegone

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PART V, DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S)

Tan, &.
Tage

 

Before agreeing to reaffirm a debt, review the terms disclosed in the Reaffirmatton Agreement (Part T) and these
additional important disclosures and instructions.

Reaffirming a debt is a serious financial decision. The law requires you to take cortain steps to make sure the decision
is in your best interest, If these steps, which are detailed in the Instructions provided in Part V, Section B below, are not
completed, the Reaffirmation Agreement is not effective, even though you have signed it,

A DISCLOSURE STATEMENT

1,

What are your obligations if you reaffirm a debt? A reaffirmed debt remains your personal legal obligation
to pay. Your reaffirmed debt is not discharged in your bankruptcy case, That means that if you default on

your reaffirmed debt after your bankruptcy case is over, your creditor may be abte to take your property or
your wages. Your obligations will be determined by the Reaffirmation Agreement, which may have changed
the terms of the original agreement, Ifyou are reaffirming an open end credit agreement, that agreement or

applicable law may permit the creditor to change the terms of that agreement in the future under certain
conditions.

Are you required to enter into a reaffirmation agreement by any law? No, you are not required to
reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest, Be sure you can afford
the payments that you agree to make,

What if your creditor has a security interest or lien? Your bankruptcy discharge does not eliminate any
{ie on your property. A “lien” is often referred to as a security interest, deed of trust, mortgage, or security
deed. The property subject to a lien is often referred to as collateral. Even if you do not reaffirm and your
personal liability on the debt is disoharged, your creditor may still have a right under the lien to take the
collateral if you do not pay or default on the debt. If the collateral is personal property that is exempt or that
the trustee has abandoned, you may be able to redeem the item rather than reaffirm the debt, To redeem, you
make a single payment to the creditor equal to the current value of the co!lateral, as the parties agree or the
court determines..

How soon do you need to enter into and file a reaffirmation agreoment? If you decide to enter into a
reaffirmation agreement, you must do so before you receive your discharge, After you liave entered Into a
reaffirmation agreement and all parts of this form that require a signature have been signed, either you or the
creditor should file it as soon as possible, The signed agreement must be filed with the court no later than 60
days after the first date set for the meeting of creditors, so that the court will have titne to schedule a hearing

to approve the agreement if approval is required, However, the court may extend the time for filing, even after
the 60-day period has ended.

Can you cance] the agreement? You may rescind (cancel) your Reaffirmation Agreement at any time before
the bankruptcy court enters your discharge, or during the 60-day petiad that begins on the date your
Reaffirmation Agreement is filed with the court, whichever occurs later. To rescind (cancel) your
Reaffirmation Agreement, you must notify the creditor that your Reaffirmation Agreement is rescinded {or
eanceled), Remember that you can rescind the agreement, even if the court approves it, as long as you rescind
within the time allowed.

When will this Reaffirmation Agreement be effective?
a. If you were represented by an attorney during the negotiation of your Reaffirmation Agreement

L if the creditor is not a Credit Union, your Reaffirmation Agreement becomes effective when it is filed
with the court unless the reaffirmation is presumed to be an undue hardship, If the Reaffirmation
Agreement is presumed to be an undue hardship, the court must review it and may set a hearing to
determine whether you have rebutted the presumption of undue hardship.

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ii, ifthe creditor is a Credit Union, your Reaffirmation Agreement becomes effective when it is filed
with the court,

b. Ifyou sere not represented by an attorney during the negotiation of your Reaffirmation Agreement,
the Reaffirmation Agreement will not be effective unless the court approves it, To have the court approve
your agreement, you must file a motion. See Instruction 5, below. The court will notify you and the creditor
of the hearing on your Reaffirmation Agreement. You must attend this hearing, at whioh time the fudge will
review your Reaffirmation Agreement, If the judge decides that the Reafftrmatlon Agreement Is in your best
interest, the agreement will be approved and will become effective. However, if your Reaffizmation
Agreement is for a consumer debt secured by a mortgage, deed of trust, sécurity deed, or other lien on your

real property, like your home, you do not need to file a motion or get court approval of your Reaffirmation
Agreement,

7. What if you have questions about what a creditor can do? If you have questions about reaffirming a debt
or what the law requires, consult with the attorney who helped you negotiate this agreement, If you do not
have an attorney helping you, you may ask the judge to explain the effect of this agreement fo you at the
hearmg to approve tho Reaffirmation Agreement. When this disclosure refers to what a creditor “may” do, it
is not giving any creditor permission to do anything, The word “may” is used to tell you what might occur if
the law permits the creditor to take the action.

INSTRUCTIONS

1, Review these Disclosures and carefully consider your decision to reaffirm. If you want to reaffirm, review
and complete the information contained in the Reaffirmation Agreement (Part ] above). If your case is a joint
case, both spouses must sign the agreement if both are reaffirm ing the debt,

2, Cotplete the Debtor’s Statement in Support of Reaffirmation Agreement (Part IL above). Be sure that you
can afford to make the payments that you are agreeing to make and that you have received a capy of the
Disclosure Statement and a completed and signed Reaffirmation Agreement.

3. Ifyou were tepresented by an attorney during the negotiation of your Reaffirmation Agreement, your attomey
must sign and date the Certification By Debtor’s Attorney (Part EV above),

4, You or your creditor must file with the court the original of this Reaffirmation Documents packet and a
completed Reaffirmation Agreement Cover Sheet (Official Bankruptcy Form 427).

5. Uf you are not represented by an attorney, you must also complete and file with the court a separate document
entitled “Motion for Court Approval of Reaffirmation Agreement" unless your Reaffirmation Agreement is for
a consumer debt secured by a lien on your real property, such as your home, You can use Form 2400B to do
this,

DEFINITIONS

|, "Amonnt Reaffirmed" means the total amount of debt that you are agreeing to pay (reaffirm) by entering
into this agreement. The total amount of debt includes any unpaid fees and costs that you are agreeing to pay
that arose on or before the date of disclosure, which is the date specified in the Reaffirmation Agreement (Part
1 Section B above). Your credit agreement may obligate you to pay additional amounts that arise after the
date of this disclosure. You should consult your credit agreement to determine whether you are obligated to
pay additional amounts that may arlse after the date of this disclosure,

2, "Annual Percentage Rate" means the interest rate on a loan expressed under the rules requited by federa]
Jaw. The annual percentage rate (as opposed to the “stated interest rate”) tells you the full cost of your credit
including many of the creditor's fees and charges. You will find the annual percentage rate for your original

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agreement on the disclosure statement that was given fo you when the loan papers were signed or on the
monthly statements sent to you for an open end credit account such as a credit card,

3. "Credit Union" means ¢ financial institution as defined in 12 U.S.C. § 461(b)(1)(A)(iv). It ls owned and
controlled by and provides financial services to its members and typically uses words like “Credit Union” or
initials like “C.0.” or “F.C.U.” in its name.

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